AO 472 (Rev. 09/08) Detention Order Pending Trial


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                       Eastern District of Tennessee

                   United States of America                              )
                              v.                                         )
                                                                         )       Case No.       1:13-cr-39 MATTICE / LEE
                   GEORGE ALDER, JR.                                     )
                            Defendant                                    )

                                               DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I conclude that these facts
require that the defendant be detained pending trial.
                                             Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has previously been convicted
          of     G a federal offense         G a state or local offense that would have been a federal offense if federal
               jurisdiction had existed - that is
                G a crime of violence as defined in 18 U.S.C. § 3156(a)(4)or an offense listed in 18 U.S.C. § 2332b(g)(5)
                  for which the prison term is 10 years or more.

                G an offense for which the maximum sentence is death or life imprisonment.
                G an offense for which a maximum prison term of ten years or more is prescribed in
                                                                                                                              .*
                G a felony committed after the defendant had been convicted of two or more prior federal offenses
                  described in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses:

                G any felony that is not a crime of violence but involves:
                    G a minor victim
                    G the possession or use of a firearm or destructive device or any other dangerous weapon
                    G a failure to register under 18 U.S.C. § 2250
G (2)          The offense described in finding (1) was committed while the defendant was on release pending trial for a
               federal, state release or local offense.

G (3)          A period of less than five years has elapsed since the            G date of conviction           G the defendant’s release
               from prison for the offense described in finding (1).
G (4)          Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition will reasonably assure the safety
               of another person or the community. I further find that the defendant has not rebutted this presumption.

                                                         Alternative Findings (A)
T (1)          There is probable cause to believe that the defendant has committed an offense




         *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act
         (21 U.S.C.
        Case         § 951 et seq.); or (c) Section 1 of ActDocument
                 1:13-cr-00039-TRM-SKL                      of Sept. 15, 1980
                                                                           50(21 U.S.C.
                                                                                  Filed§ 955a).
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                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                       Eastern District of Tennessee

                                                                                                         21 USC §§ 846, 841(a)(1),
                                                                                                         841(b)(1)(A), 841(c)(2),
              T for which a maximum prison term of ten years or more is prescribed in                    843(a)(6), 856(a)(1), & 18 USC   .
                                                                                                         § 2..

              T under 18 U.S.C. § 924(c).
T (2)       The defendant has not rebutted the presumption established by finding 1 that no condition will reasonably assure
            the defendant’s appearance and the safety of the community.

                                                         Alternative Findings (B)
G (1)        There is a serious risk that the defendant will not appear.
G (2)        There is a serious risk that the defendant will endanger the safety of another person or the community.



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                                     Part II— Statement of the Reasons for Detention
         I find that the testimony and information submitted at the detention hearing establishes by                      T clear and
convincing evidence           G a preponderance of the evidence that
Clear and convincing evidence the defendant is a danger to the community and by the preponderance of the
evidence that defendant is a risk of nonappearance. Defendant is indicted for offenses which trigger the rebuttable
presumption under 18 U.S.C. 3142(e). The return of the indictment finding probable cause that defendant
committed the offense is sufficient to trigger the presumption. The pretrial services report contains a summary
of defendant’s prior record. Based on the prior record of defendant, the continuing nature of the offenses alleged
in the indictment and shown by the proof, and the rebuttable presumption, I conclude the defendant is a danger to
the community and a risk of non-appearance and that there are no conditions or combinations of conditions that
can assure defendant’s appearance or the safety of any other person and the community. Defendant must therefore
be detained without bail.
                                               Part III—Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or a designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult privately with defense counsel. On
order of United States Court or on request of an attorney for the Government, the person in charge of the corrections facility
must deliver the defendant to the United States marshal for a court appearance.

                                                                                             s/ Susan K. Lee
Date:                 5/31/2013
                                                                                              Judge’s Signature

                                                                           Susan K. Lee, United States Magistrate Judge
                                                                                               Name and Title




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                                                           of Sept. 15, 1980      Filed§ 955a).
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